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      (Slip Opinion)              OCTOBER TERM, 2019                                       1

                                             Syllabus

               NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
             being done in connection with this case, at the time the opinion is issued.
             The syllabus constitutes no part of the opinion of the Court but has been
             prepared by the Reporter of Decisions for the convenience of the reader.
             See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


      SUPREME COURT OF THE UNITED STATES

                                             Syllabus

                BANISTER v. DAVIS, DIRECTOR, TEXAS
                DEPARTMENT OF CRIMINAL JUSTICE,
               CORRECTIONAL INSTITUTIONS DIVISION

      CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                        THE FIFTH CIRCUIT

          No. 18–6943. Argued December 4, 2019—Decided June 1, 2020
      Federal Rule of Civil Procedure 59(e) allows a litigant to file a motion to
        alter or amend a district court’s judgment within 28 days from the
        entry of judgment, with no possibility of an extension. The Rule enables
        a district court to “rectify its own mistakes in the period immediately
        following” its decision, White v. New Hampshire Dept. of Employment
        Security, 455 U. S. 445, 450, but not to address new arguments or evi-
        dence that the moving party could have raised before the decision. A
        timely filed motion suspends the finality of the original judgment for
        purposes of appeal, and only the district court’s disposition of the mo-
        tion restores finality and starts the 30-day appeal clock. If an appeal
        follows, the ruling on the motion merges with the original determina-
        tion into a single judgment.
           Title 28 U. S. C. §2244(b), the so-called gatekeeping provision of the
        Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA), gov-
        erns federal habeas proceedings. Under AEDPA, a state prisoner is
        entitled to one fair opportunity to seek federal habeas relief from his
        conviction. Section 2244(b), however, sets stringent limits on second
        or successive habeas applications. Among those restrictions, a pris-
        oner may not reassert any claims “presented in a prior application,”
        §2244(b)(1), and may bring a new claim only in limited situations. Be-
        cause habeas proceedings are civil in nature, the Federal Rules of Civil
        Procedure generally apply, but statutory habeas restrictions, includ-
        ing §2244(b), trump any “inconsistent” Rule. §2254 Rule 12.
           Petitioner Gregory Banister was convicted by a Texas court of ag-
        gravated assault and sentenced to 30 years in prison. After exhausting
        his state remedies, he filed for federal habeas relief, which the District
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          Court denied. Banister timely filed a Rule 59(e) motion, which the
          District Court also denied. He then filed a notice of appeal in accord-
          ance with the timeline for appealing a judgment after the denial of a
          Rule 59(e) motion. But the Fifth Circuit construed Banister’s Rule
          59(e) motion as a successive habeas petition and dismissed his appeal
          as untimely.
      Held: Because a Rule 59(e) motion to alter or amend a habeas court’s
       judgment is not a second or successive habeas petition under 28
       U. S. C. §2244(b), Banister’s appeal was timely. Pp. 5–16.
          (a) The phrase “second or successive application” is a term of art and
       does not “simply ‘refe[r]’ ” to all habeas filings made “ ‘second or succes-
       sively in time,’ ” following an initial application. Magwood v. Patter-
       son, 561 U. S. 320, 332. In addressing what qualifies as second or suc-
       cessive, this Court has looked to historical habeas doctrine and
       practice and AEDPA’s purposes. Here, both point toward permitting
       Rule 59(e) motions in habeas proceedings.
          Prior to AEDPA, the Court held in Browder v. Director, Dept. of Cor-
       rections of Ill., 434 U. S. 257, that Rule 59(e) applied in habeas pro-
       ceedings. The Rule, the Court recounted, derived from courts’ common-
       law power “to alter or amend [their] own judgments during[ ] the
       term of court in which [they were] rendered,” prior to any appeal, in-
       cluding “in habeas corpus cases.” Id., at 270. Although the drafters of
       the Federal Rules eventually replaced the “term of court” power with
       Rule 59(e), the Court concluded that this did nothing to narrow the set
       of judgments amenable to alteration. The record of judicial decisions
       accords with that view. Pre-AEDPA, habeas courts were to dismiss
       repetitive applications except in “rare case[s].” Kuhlmann v. Wilson,
       477 U. S. 436, 451. Yet in the half century from Rule 59(e)’s adoption
       through Browder to AEDPA’s enactment, there exists only one dismis-
       sal of a Rule 59(e) motion as impermissibly successive. In all other
       cases, the district courts resolved Rule 59(e) motions on the merits.
          Congress passed AEDPA against this backdrop, and gave no indica-
       tion that it meant to change what qualifies as a successive application.
       Nor do AEDPA’s purposes of reducing delay, conserving judicial re-
       sources, and promoting finality suggest any different result. Rule
       59(e) offers a narrow, 28-day window to ask for relief; limits requests
       for reconsideration to matters properly raised in the challenged judg-
       ment; and consolidates proceedings by producing a single final judg-
       ment for appeal. Indeed, the Rule may make habeas proceedings more
       efficient by enabling a district court to reverse a mistaken judgment or
       to clarify its reasoning so as to make an appeal unnecessary. Pp. 5–
       12.
          (b) Gonzalez v. Crosby, 545 U. S. 524, which held that a Rule 60(b)
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        motion counts as a second or successive habeas application if it “at-
        tacks the federal court’s previous resolution of a claim on the merits,”
        id., at 532, does not alter that conclusion. Rule 60(b) differs from Rule
        59(e) in just about every way that matters here. Whereas Rule 59(e)
        derives from a common-law court’s plenary power to revise its judg-
        ment before anyone could appeal, Rule 60(b) codifies various writs
        used to collaterally attack a court’s already completed judgment. That
        distinction was not lost on pre-AEDPA habeas courts, which routinely
        dismissed Rule 60(b) motions for raising repetitive claims. Next, the
        Rules’ modern-day operations also diverge, with only Rule 60(b) un-
        dermining AEDPA’s scheme to prevent delay and protect finality.
        That is because a Rule 60(b) motion, which can arise long after the
        denial of a prisoner’s initial petition, generally goes beyond pointing
        out alleged errors in the just-issued decision. Still more, a Rule 60(b)
        motion “does not affect the [original] judgment’s finality or suspend its
        operation” and is appealable as “a separate final order.” Stone v. INS,
        514 U. S. 386, 401. Left unchecked, a Rule 60(b) motion threatens se-
        rial habeas litigation, while a Rule 59(e) motion is a one-time effort to
        point out alleged errors in a just-issued decision before taking a single
        appeal. Pp. 12–16.
      Reversed and remanded.

         KAGAN, J., delivered the opinion of the Court, in which ROBERTS, C. J.,
      and GINSBURG, BREYER, SOTOMAYOR, GORSUCH, and KAVANAUGH, JJ.,
      joined. ALITO, J., filed a dissenting opinion, in which THOMAS, J., joined.
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           NOTICE: This opinion is subject to formal revision before publication in the
           preliminary print of the United States Reports. Readers are requested to
           notify the Reporter of Decisions, Supreme Court of the United States, Wash-
           ington, D. C. 20543, of any typographical or other formal errors, in order that
           corrections may be made before the preliminary print goes to press.


      SUPREME COURT OF THE UNITED STATES
                                          _________________

                                          No. 18–6943
                                          _________________


       GREGORY DEAN BANISTER, PETITIONER v. LORIE
         DAVIS, DIRECTOR, TEXAS DEPARTMENT OF
            CRIMINAL JUSTICE, CORRECTIONAL
                  INSTITUTIONS DIVISION
       ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                  APPEALS FOR THE FIFTH CIRCUIT
                                         [June 1, 2020]

        JUSTICE KAGAN delivered the opinion of the Court.
        A state prisoner is entitled to one fair opportunity to seek
      federal habeas relief from his conviction. But he may not
      usually make a “second or successive habeas corpus appli-
      cation.” 28 U. S. C. §2244(b). The question here is whether
      a motion brought under Federal Rule of Civil Procedure
      59(e) to alter or amend a habeas court’s judgment qualifies
      as such a successive petition. We hold it does not. A Rule
      59(e) motion is instead part and parcel of the first habeas
      proceeding.
                                     I
         This case is about two procedural rules. First, Rule 59(e)
      applies in federal civil litigation generally. (Habeas pro-
      ceedings, for those new to the area, are civil in nature. See
      Fisher v. Baker, 203 U. S. 174, 181 (1906).) The Rule ena-
      bles a party to request that a district court reconsider a just-
      issued judgment. Second, the so-called gatekeeping provi-
      sion of the Antiterrorism and Effective Death Penalty Act
      of 1996 (AEDPA), codified at 28 U. S. C. §2244(b), governs
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      federal habeas proceedings. It sets stringent limits on sec-
      ond or successive habeas applications. We say a few words
      about each before describing how the courts below applied
      them here.
                                    A
        Rule 59(e) allows a litigant to file a “motion to alter or
      amend a judgment.”1 The time for doing so is short—28
      days from entry of the judgment, with no possibility of an
      extension. See Fed. Rule Civ. Proc. 6(b)(2) (prohibiting ex-
      tensions to Rule 59(e)’s deadline). The Rule gives a district
      court the chance “to rectify its own mistakes in the period
      immediately following” its decision. White v. New Hamp-
      shire Dept. of Employment Security, 455 U. S. 445, 450
      (1982). In keeping with that corrective function, “federal
      courts generally have [used] Rule 59(e) only” to “recon-
      sider[ ] matters properly encompassed in a decision on the
      merits.” Id., at 451. In particular, courts will not address
      new arguments or evidence that the moving party could
      have raised before the decision issued. See 11 C. Wright, A.
      Miller, & M. Kane, Federal Practice and Procedure §2810.1,
      pp. 163–164 (3d ed. 2012) (Wright & Miller); accord, Exxon
      Shipping Co. v. Baker, 554 U. S. 471, 485–486, n. 5 (2008)
      (quoting prior edition).2 The motion is therefore tightly tied
      to the underlying judgment.
        The filing of a Rule 59(e) motion within the 28-day period
      “suspends the finality of the original judgment” for pur-
      poses of an appeal. FCC v. League of Women Voters of Cal.,
      468 U. S. 364, 373, n. 10 (1984) (internal quotation marks
      ——————
        1 The complete text of the Rule reads: “A motion to alter or amend a

      judgment must be filed no later than 28 days after the entry of the judg-
      ment.”
        2 By contrast, courts may consider new arguments based on an “inter-

      vening change in controlling law” and “newly discovered or previously
      unavailable evidence.” 11 Wright & Miller §2810.1, at 161–162 (3d ed.
      2012). But it is rare for such arguments or evidence to emerge within
      Rule 59(e)’s strict 28-day timeframe.
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      and alterations omitted). Without such a motion, a litigant
      must take an appeal no later than 30 days from the district
      court’s entry of judgment. See Fed. Rule App. Proc. (FRAP)
      4(a)(1)(A). But if he timely submits a Rule 59(e) motion,
      there is no longer a final judgment to appeal from. See Os-
      terneck v. Ernst & Whinney, 489 U. S. 169, 174 (1989). Only
      the disposition of that motion “restores th[e] finality” of the
      original judgment, thus starting the 30-day appeal clock.
      League of Women Voters, 468 U. S., at 373, n. 10 (internal
      quotation marks omitted); see FRAP 4(a)(4)(A)(iv) (A
      party’s “time to file an appeal runs” from “the entry of the
      order disposing of the [Rule 59(e)] motion”). And if an ap-
      peal follows, the ruling on the Rule 59(e) motion merges
      with the prior determination, so that the reviewing court
      takes up only one judgment. See 11 Wright & Miller §2818,
      at 246; Foman v. Davis, 371 U. S. 178, 181 (1962). The
      court thus addresses any attack on the Rule 59(e) ruling as
      part of its review of the underlying decision.
         Now turn to §2244(b)’s restrictions on second or succes-
      sive habeas petitions. Under AEDPA, a state prisoner al-
      ways gets one chance to bring a federal habeas challenge to
      his conviction. See Magwood v. Patterson, 561 U. S. 320,
      333–334 (2010). But after that, the road gets rockier. To
      file a second or successive application in a district court, a
      prisoner must first obtain leave from the court of appeals
      based on a “prima facie showing” that his petition satisfies
      the statute’s gatekeeping requirements.            28 U. S. C.
      §2244(b)(3)(C). Under those provisions, which bind the dis-
      trict court even when leave is given, a prisoner may not re-
      assert any claims “presented in a prior application.”
      §2244(b)(1). And he may bring a new claim only if it falls
      within one of two narrow categories—roughly speaking, if
      it relies on a new and retroactive rule of constitutional law
      or if it alleges previously undiscoverable facts that would
      establish his innocence. See §2244(b)(2). Still more: Those
      restrictions, like all statutes and rules pertaining to habeas,
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      trump any “inconsistent” Federal Rule of Civil Procedure
      otherwise applicable to habeas proceedings. 28 U. S. C.
      §2254 Rule 12.
                                      B
         This case began when, nearly two decades ago, petitioner
      Gregory Banister struck and killed a bicyclist while driving
      a car. Texas charged him with the crime of aggravated as-
      sault with a deadly weapon. A jury found him guilty, and
      he was sentenced to 30 years in prison. State courts upheld
      the conviction on direct appeal and in collateral proceed-
      ings. Banister then turned to federal district court for ha-
      beas relief. Although raising many claims, his petition
      mainly argued that his trial and appellate counsel provided
      him with constitutionally ineffective assistance. The Dis-
      trict Court disagreed and entered judgment denying the ap-
      plication.
         At that point, Banister timely filed a Rule 59(e) motion
      asking the District Court to alter its judgment. Consistent
      with the Rule’s corrective purpose, Banister urged the court
      to fix what he saw as “manifest errors of law and fact.” App.
      219. Five days later and without requiring a response from
      the State, the court issued a one-paragraph order explain-
      ing that it had reviewed all relevant materials and stood by
      its decision. See id., at 254. In accordance with the timeline
      for appealing a judgment after the denial of a Rule 59(e)
      motion, see supra, at 3, Banister then filed a notice of ap-
      peal (along with a request for a certificate of appealability)
      to challenge the District Court’s rejection of his habeas ap-
      plication.
         Yet the Court of Appeals for the Fifth Circuit dismissed
      the appeal as untimely. That ruling rested on the view that
      Banister’s Rule 59(e) motion, although captioned as such,
      was not really a Rule 59(e) motion at all. Because it “at-
      tack[ed] the federal court’s previous resolution of [his] claim
      on the merits,” the Fifth Circuit held that the motion must
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      be “construed as a successive habeas petition.” App. 305
      (internal quotation marks omitted). In any future case,
      that holding would prohibit a habeas court from consider-
      ing claims made in a self-styled Rule 59(e) motion except in
      rare circumstances—that is, when a court of appeals gave
      permission and the claim fell within one of §2244(b)’s two
      slender categories. See supra, at 3. In Banister’s own case,
      that bar was of no moment because the District Court had
      already addressed his motion’s merits. But viewing a Rule
      59(e) motion as a successive habeas petition also had an-
      other consequence, and this one would affect him. Unlike a
      Rule 59(e) motion, the Court of Appeals noted, a successive
      habeas application does not postpone the time to file an ap-
      peal. That meant the clock started ticking when the Dis-
      trict Court denied Banister’s habeas application (rather
      than his subsequent motion)—and so Banister’s appeal was
      several weeks late.
         We granted certiorari to resolve a Circuit split about
      whether a Rule 59(e) motion to alter or amend a habeas
      court’s judgment counts as a second or successive habeas
      application. 588 U. S. ___ (2019). We hold it does not, and
      reverse.
                                    II
         This case requires us to choose between two rules—more
      specifically, to decide whether AEDPA’s §2244(b) displaces
      Rule 59(e) in federal habeas litigation. The Federal Rules
      of Civil Procedure generally govern habeas proceedings.
      See Fed. Rule Civ. Proc. 81(a)(4). They give way, however,
      if and to the extent “inconsistent with any statutory provi-
      sions or [habeas-specific] rules.” 28 U. S. C. §2254 Rule 12;
      see supra, at 3–4. Here, the Fifth Circuit concluded and
      Texas now contends that AEDPA’s limitation of repetitive
      habeas applications conflicts with Rule 59(e)’s ordinary op-
      eration. That argument in turn hinges on viewing a Rule
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      59(e) motion in a habeas case as a “second or successive ap-
      plication.” §2244(b); see Brief for Respondent 10. If such a
      motion constitutes a second or successive petition, then all
      of §2244(b)’s restrictions kick in—limiting the filings Rule
      59(e) would allow. But if a Rule 59(e) motion is not so un-
      derstood—if it is instead part of resolving a prisoner’s first
      habeas application—then §2244(b)’s requirements never
      come into the picture.
         The phrase “second or successive application,” on which
      all this rides, is a “term of art,” which “is not self-defining.”
      Slack v. McDaniel, 529 U. S. 473, 486 (2000); Panetti v.
      Quarterman, 551 U. S. 930, 943 (2007). We have often
      made clear that it does not “simply ‘refer’ ” to all habeas fil-
      ings made “ ‘second or successively in time,’ ” following an
      initial application. Magwood, 561 U. S., at 332 (quoting
      Panetti, 551 U. S., at 944 (alteration omitted)). For exam-
      ple, the courts of appeals agree (as do both parties) that an
      amended petition, filed after the initial one but before judg-
      ment, is not second or successive. See 2 R. Hertz & J. Lieb-
      man, Federal Habeas Corpus Practice and Procedure §28.1,
      pp. 1656–1657, n. 4 (7th ed. 2017) (collecting cases); Brief
      for Petitioner 20–21; Brief for Respondent 16. So too, ap-
      peals from the habeas court’s judgment (or still later peti-
      tions to this Court) are not second or successive; rather,
      they are further iterations of the first habeas application.3
      Chronology here is by no means all.
         In addressing what qualifies as second or successive, this
      Court has looked for guidance in two main places. First, we
      have explored historical habeas doctrine and practice. The

      ——————
        3 For additional examples, see Slack v. McDaniel, 529 U. S. 473, 487

      (2000) (allowing a prisoner to file a second-in-time, post-judgment appli-
      cation to assert claims earlier dismissed for failure to exhaust) and Stew-
      art v. Martinez-Villareal, 523 U. S. 637, 643–644 (1998) (permitting a
      prisoner to file a second-in-time, post-judgment application to argue that
      he was incompetent to be executed).
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      phrase “second or successive application,” we have ex-
      plained, is “given substance in our prior habeas corpus
      cases,” including those “predating [AEDPA’s] enactment.”
      Slack, 529 U. S., at 486; Panetti, 551 U. S., at 944; see id.,
      at 943 (stating that the phrase “takes its full meaning from
      our case law”). In particular, we have asked whether a type
      of later-in-time filing would have “constituted an abuse of
      the writ, as that concept is explained in our [pre-AEDPA]
      cases.” Id., at 947. If so, it is successive; if not, likely not.
      Second, we have considered AEDPA’s own purposes. The
      point of §2244(b)’s restrictions, we have stated, is to “con-
      serve judicial resources, reduc[e] piecemeal litigation,” and
      “lend[ ] finality to state court judgments within a reasonable
      time.” Id., at 945–946 (internal quotation marks omitted).
      With those goals in mind, we have considered “the implica-
      tions for habeas practice” of allowing a type of filing, to as-
      sess whether Congress would have viewed it as successive.
      Stewart v. Martinez-Villareal, 523 U. S. 637, 644 (1998).
      Here, both historical precedents and statutory aims point
      in the same direction—toward permitting Rule 59(e) mo-
      tions in habeas proceedings. And nothing cuts the opposite
      way.
                                   A
         This Court has already held that history supports a ha-
      beas court’s consideration of a Rule 59(e) motion. In
      Browder v. Director, Dept. of Corrections of Ill., 434 U. S.
      257 (1978), we addressed prior to AEDPA “the applicability
      of Federal Rule [59(e)] in habeas corpus proceedings.” Id.,
      at 258. In deciding that the Rule applied in habeas—that
      “a prompt motion for reconsideration” was “thoroughly con-
      sistent” with habeas law and “well suited to the special
      problems and character of [habeas] proceedings”—we
      mainly looked to historical practice. Id., at 271 (internal
      quotation marks omitted). Rule 59(e), we recounted, de-
      rived from a court’s common-law power “to alter or amend
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      its own judgments during[] the term of court in which [they
      were] rendered,” prior to any appeal. Id., at 270; see Zim-
      mern v. United States, 298 U. S. 167, 169–170 (1936) (“The
      judge had plenary power while the term was in existence to
      modify his judgment [or] revoke it altogether”).4 Courts ex-
      ercised that authority, we explained, “in habeas corpus
      cases” just as “in other civil proceedings.” Browder, 434
      U. S., at 270. In 1946, the drafters of the Federal Rules re-
      placed the “term of court” power with Rule 59(e), thus pre-
      scribing a set number of days (then 10, now 28) in which a
      party could move to amend a judgment. See id., at 271. But
      in our view, that change did nothing to narrow the set of
      judgments amenable to alteration. See id., at 270–271. Af-
      ter Rule 59(e), just as before, a district court could “recon-
      sider the grant or denial of habeas corpus relief ” in the
      same way it could review any other decision. Id., at 270;
      see id., at 271. A timely Rule 59(e) motion, we held, “sus-
      pend[ed] the finality” of any judgment, including one in ha-
      beas—thus enabling a district court to address the matter
      again. Id., at 267 (internal quotation marks omitted).5

      ——————
         4 A term of court in those days was simply a period in which a court

      was open for business. A statute or rule set the date of its commence-
      ment, and the court itself determined the date to adjourn. See United
      States v. Pitman, 147 U. S. 669, 670–671 (1893).
         5 The dissent’s attempt to dismiss Browder is impossible to square with

      the opinion. Mostly, the dissent claims that Browder is just a case about
      “time limits.” Post, at 10 (opinion of ALITO, J.). But Browder is about
      time limits only in the sense that this case is about time limits: There,
      as here, the timeliness of a motion depended on the broader question
      whether Rule 59(e) applied in habeas proceedings. See 434 U. S., at 258
      (“In order to resolve th[e] question” whether the “appeal was untimely,”
      “we must consider the applicability of Federal Rule[ ] 59 in habeas corpus
      proceedings”). The dissent also intimates that Browder was different be-
      cause there the prison warden rather than the prisoner moved for recon-
      sideration of the habeas ruling. See post, at 10, and n. 2. But the Court’s
      decision explicitly addressed “motion[s ] to reconsider the grant or denial
      of habeas corpus relief.” 434 U. S., at 270 (emphasis added). In other
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         The record of judicial decisions accords with Browder’s
      view of the use of Rule 59(e) in habeas practice. Before
      AEDPA, “abuse-of-the-writ principles limit[ed] a [habeas
      applicant’s] ability to file repetitive petitions.” McCleskey
      v. Zant, 499 U. S. 467, 483 (1991). That doctrine was more
      forgiving than AEDPA’s gatekeeping provision—for exam-
      ple, enabling courts to hear a second or successive petition
      if the “ends of justice” warranted doing so. Id., at 485. But
      the rule against repetitive litigation still had plenty of bite.
      It demanded the dismissal of successive applications except
      in “rare case[s].” Kuhlmann v. Wilson, 477 U. S. 436, 451
      (1986) (plurality opinion). So if courts had viewed Rule
      59(e) motions as successive, there should be lots of decisions
      dismissing them on that basis. But nothing of the kind ex-
      ists. In the half century from Rule 59(e)’s adoption (1946)
      through Browder (1978) to AEDPA’s enactment (1996), we
      (and the parties) have found only one such dismissal. See
      Bannister v. Armontrout, 4 F. 3d 1434, 1445 (CA8 1993). In
      every other case, courts resolved Rule 59(e) motions on the
      merits—and without any comment about repetitive litiga-
      tion. Mostly, courts denied the motions and adhered to
      their original judgments. See, e.g., Gajewski v. Stevens, 346
      F. 2d 1000, 1001 (CA8 1965) (per curiam). Occasionally,
      courts decided they had erred in those decisions. See, e.g.,
      York v. Tate, 858 F. 2d 322, 325 (CA6 1988) (per curiam).
      The win-loss rate is for this point irrelevant. What matters
      is that they all (but one) treated Rule 59(e) motions not as
      successive, but as attendant on the initial habeas applica-
      tion.
         Congress passed AEDPA against this legal backdrop, and
      did nothing to change it. AEDPA of course made the limits
      on entertaining second or successive habeas applications


      ——————
      words, the identity of the movant—whether warden or prisoner—was ir-
      relevant.
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      more stringent than before. See supra, at 3. But the stat-
      ute did not redefine what qualifies as a successive petition,
      much less place Rule 59(e) motions in that category. Cf.
      Magwood, 561 U. S., at 336–337 (distinguishing between
      two questions: “§2244(b)’s threshold inquiry into whether
      an application is ‘second or successive’ and its subsequent
      inquiry into whether [to dismiss] a successive application”).
      When Congress “intends to effect a change” in existing
      law—in particular, a holding of this Court—it usually pro-
      vides a clear statement of that objective. TC Heartland
      LLC v. Kraft Foods Group Brands LLC, 581 U. S. ___, ___
      (2017) (slip op., at 8). AEDPA offers no such indication that
      Congress meant to change the historical practice Browder
      endorsed of applying Rule 59(e) in habeas proceedings.
        Nor do AEDPA’s purposes demand a change in that tra-
      dition. As explained earlier, AEDPA aimed to prevent se-
      rial challenges to a judgment of conviction, in the interest
      of reducing delay, conserving judicial resources, and pro-
      moting finality. See supra, at 7. Nothing in Rule 59(e)—a
      rule Browder described as itself “based on an interest in
      speedy disposition and finality,” 434 U. S., at 271 (internal
      quotation marks omitted)—conflicts with those goals. Re-
      call everything said above about the Rule’s operation. See
      supra, at 2–3. To begin with, Rule 59(e) gives a prisoner
      only a narrow window to ask for relief—28 days, with no
      extensions. Next, a prisoner may invoke the rule only to
      request “reconsideration of matters properly encompassed”
      in the challenged judgment. White, 455 U. S., at 451. And
      “reconsideration” means just that: Courts will not entertain
      arguments that could have been but were not raised before
      the just-issued decision. A Rule 59(e) motion is therefore
      backward-looking; and because that is so, it maintains a
      prisoner’s incentives to consolidate all of his claims in his
      initial application. Yet more, the Rule consolidates appel-
      late proceedings. A Rule 59(e) motion briefly suspends fi-
      nality to enable a district court to fix any mistakes and
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      thereby perfect its judgment before a possible appeal. The
      motion’s disposition then merges into the final judgment
      that the prisoner may take to the next level. In that way,
      the Rule avoids “piecemeal appellate review.” Osterneck,
      489 U. S., at 177. Its operation, rather than allowing re-
      peated attacks on a decision, helps produce a single final
      judgment for appeal.
         Indeed, the availability of Rule 59(e) may make habeas
      proceedings more efficient. Most obviously, the Rule ena-
      bles a district court to reverse a mistaken judgment, and so
      make an appeal altogether unnecessary. See United States
      v. Ibarra, 502 U. S. 1, 5 (1991) (per curiam) (noting that giv-
      ing district courts a short time to correct their own errors
      “prevents unnecessary burdens being placed on the courts
      of appeals”). Of course, Rule 59(e) motions seldom change
      judicial outcomes. But even when they do not, they give
      habeas courts the chance to clarify their reasoning or ad-
      dress arguments (often made in less-than-limpid pro se pe-
      titions) passed over or misunderstood before. See Brief for
      National Association of Criminal Defense Lawyers as Ami-
      cus Curiae 12–20 (describing examples). That opportunity,
      too, promotes an economic and effective appellate process,
      as the reviewing court gets “the benefit of the district
      court’s plenary findings.” Osterneck, 489 U. S., at 177. And
      when a district court sees no need to change a decision, the
      costs of permitting a Rule 59(e) motion are typically slight.
      A judge familiar with a habeas applicant’s claims can usu-
      ally make quick work of a meritless motion. This case may
      well provide an example: The District Court declined to
      make the State respond to Banister’s motion and decided it
      within five days. Nothing in such a process conflicts with
      AEDPA’s goal of streamlining habeas cases.
         The upshot, after AEDPA as before, is that Rule 59(e) mo-
      tions are not second or successive petitions, but instead a
      part of a prisoner’s first habeas proceeding. In timing and
      substance, a Rule 59(e) motion hews closely to the initial
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      application; and the habeas court’s disposition of the former
      fuses with its decision on the latter. Such a motion does not
      enable a prisoner to abuse the habeas process by stringing
      out his claims over the years. It instead gives the court a
      brief chance to fix mistakes before its (single) judgment on
      a (single) habeas application becomes final and thereby
      triggers the time for appeal. No surprise, then, that habeas
      courts historically entertained Rule 59(e) motions, rather
      than dismiss them as successive. Or that Congress said not
      a word about changing that familiar practice even when en-
      acting other habeas restrictions.
                                     B
        Texas (along with the dissent) resists this conclusion on
      one main ground: this Court’s prior decision in Gonzalez v.
      Crosby, 545 U. S. 524 (2005). The question there was
      whether a Rule 60(b) motion for “relie[f] from a final judg-
      ment” denying habeas relief counts as a second or succes-
      sive habeas application. Fed. Rule Civ. Proc. 60(b).6 We
      said that it does, so long as the motion “attacks the federal
      court’s previous resolution of a claim on the merits.” 545
      U. S., at 532 (emphasis deleted).7 Texas thinks the “Gonza-
      lez principle applies with equal force to Rule 59(e) motions.”
      ——————
        6 Under Rule 60(b), a court may relieve a party in civil litigation from

      a final judgment if the party can show (1) mistake, inadvertence, sur-
      prise, or excusable neglect; (2) certain newly discovered evidence; (3)
      fraud, misrepresentation, or misconduct by an opposing party; (4) void-
      ness of the judgment; (5) certain events that would cast doubt on the
      validity or equity of continuing to apply the judgment; or (6) “any other
      reason that justifies relief.” Fed. Rule Civ. Proc. 60(b)(1)–(6).
        7 By contrast, Gonzalez held, a Rule 60(b) motion that attacks “some

      defect in the integrity of the federal habeas proceedings”—like the mis-
      taken application of a statute of limitations—does not count as a habeas
      petition at all, and so can proceed. 545 U. S., at 532. Texas concedes
      that if Gonzalez controls Rule 59(e) motions, that decision’s distinction
      between merits-based motions and integrity-based motions would have
      to apply. See Brief for Respondent 37. The need for a habeas court to
      make that not-always-easy threshold determination further undermines
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      Brief for Respondent 8. After all, the State argues, both
      Rule 59(e) and Rule 60(b) provide “vehicles for asserting ha-
      beas claims” after a district court has entered judgment
      denying relief. Id., at 2. And if Gonzalez does apply, Texas
      concludes, Banister must lose because (as everyone agrees)
      his Rule 59(e) motion pressed only merits-based claims.
         But Rule 60(b) differs from Rule 59(e) in just about every
      way that matters to the inquiry here. (Contra the dissent’s
      refrain, see post, at 1, 3, 5, 6, 10, 14, the variance goes far
      beyond their “labels.”) Begin, again, with history. Recall
      that Rule 59(e) derives from a common-law court’s plenary
      power to revise its judgment during a single term of court,
      before anyone could appeal. See supra, at 7–8. By contrast,
      Rule 60(b) codifies various writs used to seek relief from a
      judgment at any time after the term’s expiration—even af-
      ter an appeal had (long since) concluded. Those mecha-
      nisms did not (as the term rule did) aid the trial court to get
      its decision right in the first instance; rather, they served
      to collaterally attack its already completed judgment. See
      Advisory Committee’s 1946 Notes on Amendments to Fed.
      Rule Civ. Proc. 60; Mann, Note, History and Interpretation
      of Federal Rule 60(b), 25 Temp. L. Q. 77, 78 (1951). And
      that distinction was not lost on pre-AEDPA habeas courts
      applying the two rules. As discussed earlier, it is practically
      impossible to find a case dismissing a Rule 59(e) motion for
      raising repetitive claims. See supra, at 9. But decisions
      abound dismissing Rule 60(b) motions for that reason. See,
      e.g., Williamson v. Rison, 1993 WL 262632 (CA9, July 9,
      1993); see also Brewer v. Ward, 1996 WL 194830, *1 (CA10,
      Apr. 22, 1996) (collecting cases from multiple Circuits).
      That is because those courts recognized Rule 60(b)—as con-



      ——————
      the notion—already on shaky ground, see supra, at 10–11—that Texas’s
      position would lead to any efficiency gains.
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      trasted to Rule 59(e)—as threatening an already final judg-
      ment with successive litigation.8
         The modern-day operation of the two Rules also diverge,
      with only Rule 60(b) undermining AEDPA’s scheme to pre-
      vent delay and protect finality. Unlike Rule 59(e) motions
      with their fixed 28-day window, Rule 60(b) motions can
      arise long after the denial of a prisoner’s initial petition—
      depending on the reason given for relief, within either a
      year or a more open-ended “reasonable time.” Fed. Rule
      Civ. Proc. 60(c)(1). In Gonzalez itself, the prisoner made his
      motion nearly three years after the habeas court’s denial of
      relief, and more than one year after his appeal ended. See
      545 U. S., at 527. Given that extended timespan, Rule 60(b)
      inevitably elicits motions that go beyond Rule 59(e)’s mis-
      sion of pointing out the alleged errors in the habeas court’s
      decision. See, e.g., Lopez v. Douglas, 141 F. 3d 974, 975
      (CA10 1998) (per curiam) (seeking relief in light of a Su-
      preme Court decision issued a decade after judgment); Ty-
      ler v. Anderson, 749 F. 3d 499, 504–505 (CA6 2014) (seeking
      to raise claims that former counsel had neglected in a years-
      old habeas application). Still more, the appeal of a Rule
      60(b) denial is independent of the appeal of the original pe-
      tition. Recall that a Rule 59(e) motion suspends the finality
      ——————
        8 The dissent’s alternative explanation for this disparity does not pass

      muster. According to the dissent, habeas courts “might have been more
      inclined” to rule on the merits of Rule 59(e) motions because doing so was
      easier: after all, they (but not Rule 60(b) motions) always challenge a
      just-issued decision. Post, at 12. But another course would have been
      easier still: throwing out the motion for raising repetitive claims. And
      even more to the point, that course would usually have been required if
      the dissent were right that Rule 59(e) motions counted as successive.
      Although pre-AEDPA courts had some discretion around the edges, the
      consideration of successive petitions was supposed to be “rare.”
      Kuhlmann v. Wilson, 477 U. S. 436, 451 (1986) (plurality opinion); see
      supra, at 9. It is a “tall order,” post, at 12, then, to think that a half
      century’s worth of habeas courts would have resolved Rule 59(e) motions
      on the merits if they thought of those motions as successive. The only
      plausible account of their actions is that they did not.
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      of the habeas judgment, and a decision on the former
      merges into the latter for appellate review. See supra, at
      2–3, 10-11. By contrast, a Rule 60(b) motion “does not affect
      the [original] judgment’s finality or suspend its operation.”
      Fed. Rule Civ. Proc. 60(c)(2). And an appeal from the denial
      of Rule 60(b) relief “does not bring up the underlying judg-
      ment for review.” Browder, 434 U. S., at 263, n. 7. Instead,
      that denial is appealed as “a separate final order.” Stone v.
      INS, 514 U. S. 386, 401 (1995).9
         In short, a Rule 60(b) motion differs from a Rule 59(e)
      motion in its remove from the initial habeas proceeding. A
      Rule 60(b) motion—often distant in time and scope and al-
      ways giving rise to a separate appeal—attacks an already
      completed judgment. Its availability threatens serial ha-
      beas litigation; indeed, without rules suppressing abuse, a
      prisoner could bring such a motion endlessly. By contrast,
      a Rule 59(e) motion is a one-time effort to bring alleged er-
      rors in a just-issued decision to a habeas court’s attention,
      before taking a single appeal. It is a limited continuation
      of the original proceeding—indeed, a part of producing the
      final judgment granting or denying habeas relief. For those
      reasons, Gonzalez does not govern here. A Rule 59(e) mo-
      tion, unlike a Rule 60(b) motion, does not count as a second
      or successive habeas application.
      ——————
        9 Texas objects that if a Rule 60(b) motion is filed within 28 days, it too

      suspends the finality of the underlying judgment so that the denial of the
      motion merges with that judgment on appeal. See Brief for Respondent
      25, 28. But that is only because courts of appeals have long treated Rule
      60(b) motions filed within 28 days as . . . Rule 59(e) motions. See, e.g.,
      Skagerberg v. Oklahoma, 797 F. 2d 881, 882–883 (CA10 1986) (per cu-
      riam) (“A post-judgment motion made within [28] days of the entry of
      judgment that questions the correctness of a judgment,” however denom-
      inated, “is properly construed as a motion to alter or amend judgment
      under [Rule] 59(e)”); see also Fed. Rule App. Proc. 4(a)(4)(A)(vi) (codify-
      ing that approach by setting the same appeals clock for self-styled Rule
      60(b) motions filed within 28 days as for Rule 59(e) motions).
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                                   III
         Our holding means that the Court of Appeals should not
      have dismissed Banister’s appeal as untimely. Banister
      properly brought a Rule 59(e) motion in the District Court.
      As noted earlier, the 30-day appeals clock runs from the dis-
      position of such a motion, rather than from the initial entry
      of judgment. See supra, at 3. And Banister filed his notice
      of appeal within that time. The Fifth Circuit reached a con-
      trary conclusion because it thought that Banister’s motion
      was really a second or successive habeas application, and so
      did not reset the appeals clock. For all the reasons we have
      given, that understanding of a Rule 59(e) motion is wrong.
      We therefore reverse the judgment of the Court of Appeals
      and remand the case for further proceedings consistent
      with this opinion.
                                                    It is so ordered.
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      SUPREME COURT OF THE UNITED STATES
                               _________________

                               No. 18–6943
                               _________________


       GREGORY DEAN BANISTER, PETITIONER v. LORIE
         DAVIS, DIRECTOR, TEXAS DEPARTMENT OF
            CRIMINAL JUSTICE, CORRECTIONAL
                  INSTITUTIONS DIVISION
       ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                  APPEALS FOR THE FIFTH CIRCUIT
                              [June 1, 2020]

        JUSTICE ALITO, with whom JUSTICE THOMAS joins,
      dissenting.
        Gregory Banister, a state prisoner, filed a federal habeas
      petition arguing that his conviction was invalid for 53 rea-
      sons. His arguments spanned almost 300 pages and fea-
      tured an imagined retelling of the jury deliberations in the
      form of stage dialogue. After the District Court determined
      that all his claims lacked merit, he filed a motion rearguing
      many of them.
        If Banister had labeled this motion what it was in sub-
      stance—another habeas petition—it would have been sum-
      marily dismissed under 28 U. S. C. §2244(b)(1). If he had
      labeled it a motion for relief from judgment under Federal
      Rule of Civil Procedure 60(b), it would also have been sub-
      ject to dismissal under our decision in Gonzalez v. Crosby,
      545 U. S. 524 (2005). Instead, he gave it a different label,
      styling it as a motion to alter the judgment under Rule
      59(e), and the Court now holds this label makes all the
      difference.
        The question in this case is whether a state prisoner can
      evade the federal habeas statute’s restrictions on second or
      successive habeas petitions by affixing a Rule 59(e) label.
      The answer follows from our decision in Gonzalez, and the
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      answer is no. If a Rule 59(e) motion asserts a habeas claim,
      the motion functions as a second or successive habeas peti-
      tion and should be treated as such.
                                     I
        The Antiterrorism and Effective Death Penalty Act of
      1996 (AEDPA) “streamlin[es] federal habeas corpus pro-
      ceedings.” Rhines v. Weber, 544 U. S. 269, 277 (2005). A
      state prisoner is generally limited to a single federal habeas
      petition, which usually must be filed within one year after
      the end of direct review; the district court must give this
      petition “priority”; if the prisoner is dissatisfied with the
      district court’s decision and wants to appeal, he must seek
      permission from the appropriate court of appeals and must
      set out the errors he thinks the district court made; and the
      appeal can go forward only if a specified standard is met.
      §§2244(d), 2253(c), 2254(a), 2266(a). As we have frequently
      said, this design was crafted to promote comity, finality,
      federalism, and judicial efficiency. See, e.g., Panetti v.
      Quarterman, 551 U. S. 930, 945 (2007).
        Habeas petitions occupy an outsized place on federal
      dockets. See infra, at 13. Their efficient resolution not only
      preserves federal judicial capacity but removes the cloud of
      federal review from state-court judgments. The federal ha-
      beas provisions create a procedural regime that differs
      sharply from the regime that generally applies in civil
      cases, and the habeas statute displaces any Federal Rule of
      Civil Procedure that is “inconsistent with” its provisions.
      28 U. S. C. §2254 Rule 12 (Habeas Rule 12).
        Integral to AEDPA’s design are its restrictions on “second
      or successive” habeas petitions, which, prior to AEDPA,
      sometimes led to very lengthy delays. See, e.g., Kuhlmann
      v. Wilson, 477 U. S. 436, 453, and n. 15 (1986) (plurality
      opinion). A provision added by AEDPA, 28 U. S. C.
      §2244(b), is designed to prevent this. Under §2244(b)(1), a
      second or successive petition may not duplicate the initial
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      petition. Thus, any claim “that was presented in a prior
      application shall be dismissed.” §2244(b)(1). In addition,
      second or successive petitions usually may not raise new
      claims either. Any claim “that was not presented in a prior
      application shall be dismissed unless” it meets stringent
      standards contained in §2244(b)(2). Specifically, to avoid
      dismissal, a new claim must rely on (1) “a new rule of con-
      stitutional law” that this Court has made applicable in ha-
      beas proceedings or (2) a fact that “could not have been dis-
      covered previously through the exercise of due diligence”
      and that now makes the petitioner’s innocence “clear and
      convincing.” §§2244(b)(2)(A)–(B).
         A prisoner wishing to file a second or successive petition
      must apply to a court of appeals for permission to do so, and
      the court of appeals cannot authorize the filing unless the
      petition makes a prima facie showing that it meets
      §2244(b)(2)’s standards. §2244(b)(3). If a court of appeals
      allows the second or successive petition to be filed, the dis-
      trict court must nevertheless review its claims and dismiss
      any that turns out not to meet §2244(b)(2)’s standards.
      §2244(b)(4).
                                     II
        In Gonzalez, we considered how §2244(b) applies to a fil-
      ing that is in essence a second or successive habeas petition
      but bears a different label. The filing there was a motion
      under Rule 60(b), which allows a court to relieve a party of
      an earlier judgment. Every Member of the Gonzalez Court,
      including those in dissent, recognized that whether a Rule
      60(b) motion should be treated as a habeas petition depends
      on the nature of the relief the motion seeks, not the label
      slapped onto it. 545 U. S., at 532 (opinion of the Court); id.,
      at 538 (BREYER, J., concurring); id., at 539 (Stevens, J., dis-
      senting). And in considering whether a Rule 60(b) motion
      asserts the type of relief that requires it to be treated as a
      habeas petition, the critical question is whether the motion
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      in essence asserts a habeas claim, that is, a claim that pro-
      pounds a “federal basis for relief from a state court’s judg-
      ment of conviction.” Id., at 530 (opinion of the Court). If
      the motion “seeks to add a new ground for” that relief, it
      “will of course qualify” as a second or successive habeas pe-
      tition. Id., at 532. It will also qualify “if it attacks the fed-
      eral court’s previous resolution of a [habeas] claim on the
      merits.” Ibid.
         To see how this analysis plays out, imagine a case in
      which a state prisoner files a Rule 60(b) motion alleging
      that he was denied the effective assistance of counsel at
      trial. If that claim was not in his initial habeas petition,
      the motion constitutes a second or successive habeas peti-
      tion because it asserts a new reason why he is entitled to
      habeas relief. And if that claim was in his initial habeas
      petition but he now alleges that the court erroneously de-
      nied the claim, the motion is still a second or successive ha-
      beas petition since it alleges that the court should have
      granted him habeas relief, an argument that is “effectively
      indistinguishable” from the claim that he was entitled to
      that relief in the first place. Ibid. In either event, we held
      in Gonzalez, “failing to subject” the motion to §2244(b)
      “would be inconsistent with” AEDPA. Id., at 531 (internal
      quotation marks omitted).
         Although Gonzalez concerned a motion under Rule 60(b),
      nothing in its reasoning was tied to any specific character-
      istics of such a motion, and accordingly, there is no good
      reason why a Rule 59(e) motion should not be subject to the
      same rules. Indeed, the application of Gonzalez’s reasoning
      is even more clear-cut when a habeas petitioner files a Rule
      59(e) motion. Like its neighbor, Rule 59(e) provides a way
      for a civil litigant to get relief after the entry of judgment,
      but a Rule 59(e) motion can seek only “reconsideration of
      matters properly encompassed in a decision on the merits.”
      White v. New Hampshire Dept. of Employment Security, 455
      U. S. 445, 451 (1982); accord, ante, at 10. And a claim that
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      “attacks the federal court’s previous resolution of a claim on
      the merits” is exactly the type of claim that, under Gonzalez,
      is subject to §2244(b)(1) and must therefore be dismissed.
      545 U. S., at 532.1
         Today’s opinion thus permits precisely the type of circum-
      vention that Gonzalez prevents. Consider again the habeas
      petitioner with the allegedly bad trial lawyer. Suppose
      that, after the district court denies an ineffective-assistance
      claim in his initial petition, he submits three effectively in-
      distinguishable filings under different headers: a second
      habeas petition asserting the same claim again; a Rule
      60(b) motion disputing the court’s resolution of the claim;
      and a Rule 59(e) motion doing the same. The first two will
      face dismissal under §2244(b)(1). But, under today’s deci-
      sion, the third may proceed. And not only that, if a pro se
      litigant does not appreciate that he can get around
      §2244(b)(1) by calling his second or successive petition a
      Rule 59(e) motion, a court may “ignore the legal label that
      [the] pro se litigant attaches to” his filing, treat the petition
      as a Rule 59(e) motion, and voilà, §2244(b) disappears from
      view. Castro v. United States, 540 U. S. 375, 381 (2003).
      This allows a habeas petitioner to obtain “a second chance
      to have the merits determined favorably” in contravention
      of AEDPA and our reasoning in Gonzalez, 545 U. S., at 533,
      n. 5.
                                   III
         The Court provides a variety of reasons for refusing to
      follow Gonzalez, but none is sound.


      ——————
         1 Rule 59(e) motions can also assert “newly discovered or previously

      unavailable evidence” and “intervening change[s] in controlling law.” 11
      C. Wright, A. Miller, & M. Kane, Federal Practice and Procedure §2810.1
      (3d ed. Supp. 2020). Banister’s motion did neither, see Brief for Peti-
      tioner 47, so this case concerns only the types of claims that require au-
      tomatic dismissal under 28 U. S. C. §2244(b)(1).
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                            ALITO, J., dissenting

                                     A
        The Court begins by saying that a Rule 59(e) motion is
      part of a petitioner’s “one fair opportunity to seek federal
      habeas relief,” ante, at 1, but if there is a reason why a Rule
      60(b) motion could not also be called part of that “oppor-
      tunity,” the Court does not offer one. A repetitive habeas
      claim is as much a repetitive habeas claim if filed under
      Rule 59(e) in 28 days or under Rule 60(b) at, say, day 29.
      The label is the only “variance” that explains why one is
      now allowed but not the other. Ante, at 13.
                                     B
         The Court proclaims that Rules 59(e) and 60(b) differ “in
      just about every way that matters to the inquiry here,” ante,
      at 13, but none of the differences that the Court cites matter
      under Gonzalez’s reasoning, which relies on the nature of
      the claim asserted in the post-judgment motion. Under
      that reasoning, it makes no difference that a Rule 60(b) mo-
      tion may be filed later than a Rule 59(e) motion, that a Rule
      59(e) motion (but not a later-filed Rule 60(b) motion) sus-
      pends a judgment’s finality for purposes of appeal, or that
      an order denying a Rule 59(e) motion merges with the judg-
      ment for purposes of appeal, whereas a Rule 60(b) denial is
      separately appealable. Ante, at 14–15. Gonzalez did not
      rely on a single one of the Rule 60(b) characteristics men-
      tioned by the Court here, and none matters under Gonza-
      lez’s reasoning. On the contrary, Gonzalez’s logic was sim-
      ple: If a motion advances a habeas claim, it counts as a
      habeas petition.
                                   C
        The Court looks to the history of motions to alter or
      amend a judgment, see ante, at 7–8, but it is hard to see
      how that history has a bearing on the issue in this case. As
      the Court notes, trial courts once had the power to correct
      errors in their judgments during but not after the term in
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      which the judgment was handed down, but how this is rel-
      evant to our issue is a mystery. The point in time at which
      a court’s power to alter or amend a judgment ends (whether
      at the conclusion of a court term or at a specified point after
      the entry of the judgment) is used to determine whether a
      motion to alter or amend is timely. But the issue before us
      is not whether Banister filed his Rule 59(e) motion within
      the time allowed for such motions (he did) but whether his
      motion counts as a habeas petition. The question would be
      exactly the same if district courts still had terms of court
      and his motion was filed before the term ended.
                                       D
         In arguing that “[t]his case requires us to choose be-
      tween” §2244(b) and Rule 59(e), ante, at 5, the Court in-
      vokes Habeas Rule 12, which states that “[t]he Federal
      Rules of Civil Procedure, to the extent that they are not in-
      consistent with any statutory provisions or these rules, may
      be applied to a proceeding under these rules.” According to
      the Court, AEDPA does not “place Rule 59(e) motions in
      th[e] category” of second or successive petitions, and there-
      fore AEDPA does not alter Rule 59(e)’s role. Ante, at 10.
         This argument greatly exaggerates the very limited role
      of Habeas Rule 12. Although “habeas corpus proceedings
      are characterized as ‘civil,’ ” “the label is gross and inexact.”
      Harris v. Nelson, 394 U. S. 286, 293–294 (1969). They are
      “unique,” and even before AEPDA they “conformed with
      civil practice only in a general sense.” Id., at 294. Thus, we
      have contrasted a “civil action, governed by the full panoply
      of the Federal Rules of Civil Procedure,” with the “swift,
      flexible, and summary determination” of a habeas claim.
      Preiser v. Rodriguez, 411 U. S. 475, 495–496 (1973). The
      Civil Rules themselves give AEDPA precedence. They “ap-
      ply to proceedings for habeas corpus” only insofar as “the
      practice in those proceedings is not specified in a federal
      statute” or the Habeas Rules and “has previously conformed
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      to the practice in civil actions.” Fed. Rule Civ. Proc.
      81(a)(4). And as we have observed, “[s]uch specific evidence
      as there is with respect to the intent of the draftsmen of the
      [civil] rules indicates nothing more than a general and non-
      specific understanding that the rules would have very lim-
      ited application to habeas corpus proceedings.” Harris, 394
      U. S., at 295.
         Let’s count some of the ways in which habeas proceedings
      deviate from the Civil Rules. Discovery rules, which are
      central to civil litigation, do not apply “as a matter of right”
      in habeas proceedings. Ibid. Instead, a court’s leave is re-
      quired for factual development. See Habeas Rule 6(a); see
      also Bracy v. Gramley, 520 U. S. 899, 908–909 (1997). An-
      other civil mainstay, the Rule 12(b)(6) motion to dismiss,
      also has no place in habeas. See Browder v. Director, Dept.
      of Corrections of Ill., 434 U. S. 257, 269, n. 14 (1978); see
      also Habeas Rule 4 (responsive pleading not required un-
      less the court directs). Indeed, the entire “civil action pro-
      cedural sequencing—from a motion to dismiss, to an an-
      swer, to discovery, and ultimately to trial—[i]s not
      applicable in habeas cases.” O’Brien v. Moore, 395 F. 3d
      499, 506 (CA4 2005) (discussing Browder, 434 U. S., at 269,
      n. 14). Even nationwide service of process authorized by
      statute, rather than the Civil Rules, is unavailable in ha-
      beas. See Schlanger v. Seamans, 401 U. S. 487, 489–491,
      and n. 4 (1971). And though courts have long applied “non-
      controversial rules in habeas corpus proceedings,” Harris,
      394 U. S., at 294, n. 5, the mixed bag shows habeas’s hybrid
      nature. See 4 C. Wright, A. Miller, & A. Steinman, Federal
      Practice and Procedure §1021, n. 6 (4th ed. Supp. 2020)
      (Wright & Miller) (cataloging other rules that courts have
      and have not applied).
         Our decisions rejecting some of the Civil Rules’ proce-
      dural “formalisms” have often inured to the benefit of ha-
      beas petitioners. Hensley v. Municipal Court, San Jose-
      Milpitas Judicial Dist., Santa Clara Cty., 411 U. S. 345, 350
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      (1973). In O’Neal v. McAninch, 513 U. S. 432 (1995), we
      rejected a State’s argument that Rule 61 put the burden on
      habeas petitioners to resolve doubts about whether trial er-
      rors were harmless, and we reached that conclusion primar-
      ily because habeas proceedings are “[u]nlike the civil cases
      cited by the State.” Id., at 440. In Holiday v. Johnston, 313
      U. S. 342 (1941), the petitioner sought habeas relief from a
      district court but received a hearing before an Alcatraz com-
      missioner. We held that Rule 53, which allows a court to
      send some issues to a “master,” did not justify that practice
      in habeas cases; the federal habeas statute contemplated
      proceedings before judges, giving Rule 53 “no application.”
      Id., at 353. In so holding, we rejected the argument that
      the practice at issue was permissible because it was “a con-
      venient one,” id., at 352, the same claim that the Court
      makes about Rule 59(e), ante, at 11. Instead, we held that
      a court “may not substitute another more convenient mode”
      from civil practice if it contravenes “the Congressional pol-
      icy” reflected “in the Habeas Corpus Act.” Holiday, 313
      U. S., at 352.
         AEDPA has only widened the gap between habeas and
      other civil proceedings, see Felker v. Turpin, 518 U. S. 651,
      664 (1996), and Gonzalez illustrates the point. Like Rule
      59(e) and the other Rules just discussed, no federal habeas
      provision “expressly circumscribe[s]” the application of
      Rule 60(b) in habeas cases. 545 U. S., at 529. And like Rule
      59(e) but unlike the discovery rules, which were “innova-
      tions,” Hickman v. Taylor, 329 U. S. 495, 500 (1947), Rule
      60(b) descends from “ancient” civil practice, 11 Wright &
      Miller §2851. But AEDPA so “dramatically” reshaped fed-
      eral habeas procedure, Rhines, 544 U. S., at 274, that courts
      must proceed “in a manner consistent with the objects of
      the statute” even where it does not address a given detail,
      Calderon v. Thompson, 523 U. S. 538, 554 (1998). Where a
      Civil Rule does conflict with a specific AEDPA provision
      like §2244(b), AEDPA necessarily prevails.
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        On its own, then, Habeas Rule 12 cannot do the work that
      Banister needs. He must show that AEDPA itself contains
      the loophole he seeks to exploit, and he has not done so. The
      refrain echoed by the Court—that a Rule 59(e) motion
      comes included with a petitioner’s “one full and fair oppor-
      tunity” for habeas relief, Brief for Petitioner 1; see ante, at
      1—simply begs the question that AEDPA answers: namely,
      what that opportunity entails. It does not entail “a second
      chance to have the merits” of a habeas claim “determined
      favorably.” Gonzalez, 545 U. S., at 533, n. 5.
        Lifting partial quotations from our decision in Browder,
      434 U. S., at 271, the Court states that we have “already
      held” that Rule 59(e) is “ ‘thoroughly consistent’ with ha-
      beas law,” ante, at 7, but the partial quotations are highly
      misleading. The case had nothing to do with the interplay
      between Rule 59(e) and restrictions on filing a second or
      successive habeas petition.
        In Browder, a prison warden moved for reconsideration
      of a judgment granting habeas relief, but he did not do so
      within the time allowed by Rule 59 and Rule 52(b), which
      sets the same deadline for a motion to amend factual find-
      ings. All that the Court held was that those “time limits”
      were “thoroughly consistent with the spirit of the habeas
      corpus statutes,” which did not address the “timeliness” of
      such a motion. 434 U. S., at 270–271.
        Browder in no way establishes that it is “thoroughly con-
      sistent with” AEDPA to allow a petitioner to accomplish via
      a Rule 59(e) motion what the prisoner could not achieve by
      honestly labeling his motion as a habeas petition.2 The
      warden, of course, was not seeking habeas relief, so his Rule
      ——————
        2 Browder cites two cases for the proposition that courts had power to

      alter their judgments “in habeas corpus cases.” 434 U. S., at 270. Nei-
      ther did so at the habeas petitioner’s request. See Aderhold v. Murphy,
      103 F. 2d 492, 493 (CA10 1939) (sua sponte alteration deemed void on
      appeal); Tiberg v. Warren, 192 F. 458, 462 (CA9 1911) (government
      motion).
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      59(e) motion could not have constituted a successive habeas
      petition.
                                    E
         This brings us to the Court’s final redoubt, pre-AEDPA
      practice. We have sometimes looked there in interpreting
      AEDPA’s terms. See Slack v. McDaniel, 529 U. S. 473, 486
      (2000). But assuming pre-AEDPA practice can inform our
      understanding of AEDPA, history lends no real support to
      the Court’s holding that a Rule 59(e) motion cannot count
      as a second or successive habeas petition. Research has
      found exactly one decision that directly addresses that
      question, and its holding is contrary to the Court’s position.
         In Bannister v. Armontrout, 4 F. 3d 1434 (CA8 1993), af-
      ter the District Court denied a habeas petition, the prisoner
      filed a Rule 59(e) motion asserting a new claim. The Eighth
      Circuit held that this motion “was the functional equivalent
      of a second petition” and rejected it on that ground. Id., at
      1445. The Court does not attempt to distinguish that case,
      and cannot cite a single pre-AEDPA case that directly sub-
      stantiates its claim about pre-AEDPA practice.
         Without any direct support, the Court reads volumes into
      what it sees as the disparate treatment of habeas petition-
      ers’ Rule 60(b) and 59(e) motions in pre-AEDPA days. Pre-
      AEDPA courts often, though not always, treated prisoners’
      Rule 60(b) motions as successive habeas petitions. See
      Brewer v. Ward, 1996 WL 194830, *1 (CA10, Apr. 22, 1996)
      (noting the trend as to motions “raising new claims” but af-
      firming a denial of Rule 60(b) relief on the merits). By con-
      trast, only Bannister denied a Rule 59(e) motion on that ba-
      sis, and a handful of cases denied (or reversed lower-court
      decisions granting) habeas petitioners’ Rule 59(e) motions
      on other grounds. Ante, at 9. From this state of affairs, the
      Court infers that Rule 59(e) motions were generally re-
      garded as free from the pre-AEDPA strictures on second or
      successive petitions. In other words, the Court infers that
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      judges thought that they were required to decide Rule 59(e)
      motions on the merits even if they were second or successive
      habeas petitions in substance.
         This is nothing but speculation, and there is a more likely
      explanation for the disparity between reported cases dis-
      missing Rule 60(b) and Rule 59(e) motions as second or suc-
      cessive. Before AEDPA, whether to entertain a successive
      habeas petition was left to “the sound discretion of the fed-
      eral trial judges,” Sanders v. United States, 373 U. S. 1, 18
      (1963), and therefore the disparity may be attributable, not
      to what judges thought they were required to do, but to
      what they chose to do as a matter of discretion. And the
      Court provides the obvious reasons why judges might have
      been more inclined to reach the merits in Rule 59(e) cases.
      A Rule 59(e) motion raises claims that the judge recently
      decided; a Rule 60(b) motion may raise entirely new claims
      and may be filed later. For these reasons, judges might
      have found it more attractive to decide the merits in Rule
      59(e) cases when they had the discretion to do so.
         The important point, however, is that the Court can only
      speculate. But based on that speculation, the Court is will-
      ing to conclude that in the days before AEDPA, judges
      thought that they were legally required to decide the merits
      of second or successive habeas petitions if they were labeled
      as Rule 59(e) motions and that AEDPA’s express and tight
      restrictions on second or successive petitions were enacted
      on the understanding that this feature of pre-AEDPA prac-
      tice would not be disturbed. That is a tall order indeed, and
      this inconclusive case law does not suffice. See, e.g.,
      Isbrandtsen Co. v. Johnson, 343 U. S. 779, 783 (1952)
      (“Statutes . . . are to be read with a presumption favoring
      the retention of long-established and familiar principles”).
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                                     IV
                                      A
         The Court muses that its opinion “may make habeas pro-
      ceedings more efficient,” ante, at 11, but improving statutes
      is not our job, and in any event, the Court’s assessment of
      the consequences of its decision is dubious.
         State prisoners file thousands of federal habeas petitions
      per year.3 After a petition is denied, as most are, the Court
      suggests that Rule 59(e) gives federal habeas courts a
      chance “to correct their own errors” or “to clarify their rea-
      soning,” but the value of this opportunity is questionable
      since, as the Court admits, “Rule 59(e) motions seldom
      change judicial outcomes.” Ante, at 11. Statistics agree
      that, in the main, district courts resolve habeas petitions
      correctly. In 2019, appeals courts reversed in only a
      miniscule percentage of appeals in cases involving state
      prisoners’ habeas claims.4
         The Court is probably right that, once in a while, a
      Rule 59(e) motion could save the need for an appeal. But
      that positive effect is very likely outweighed by the burden
      imposed by the entirely meritless Rule 59(e) motions that
      today’s decision will give prisoners an incentive to file. Not
      only will prisoners file such motions on the off chance of
      winning, but some may file simply to toll the deadline for
      filing an appeal, Fed. Rule App. Proc. 4(a)(4)(A)(iv). The
      burden of wading through these motions will not always be
      “slight.” Ante, at 11; see App. 219–253 (Banister’s motion).
      And the aggregate burden on the district courts may actu-
      ally be quite substantial.
         The Court’s decision would be more understandable if it
      ——————
         3 See Administrative Office of the U. S. Courts, Federal Judicial Case-

      load Statistics, U. S. District Courts–Civil Cases Commenced, by Basis
      of Jurisdiction and Nature of Suit (2019) (Table C–2). State prisoners’
      habeas petitions are listed under the “Federal Question” category of “Pri-
      vate Cases.”
         4 See id., Table B–5.
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      offered any real benefit for habeas petitioners, but it does
      not. As Banister concedes, see Brief for Petitioner 33, the
      standard for Rule 59(e) relief from an erroneous judgment
      is higher than the standard for permission to appeal. Com-
      pare Miller-El v. Cockrell, 537 U. S. 322, 336 (2003) (“rea-
      sonable debate” standard for a certificate of appealability),
      with 11 Wright & Miller §2810.1 (“manifest error” standard
      for Rule 59(e) relief ). So if a prisoner has a claim that can
      prevail under Rule 59(e), there should be no problem in ob-
      taining permission to appeal. That is the procedure pre-
      scribed by AEDPA, and it is an entirely reasonable one that
      does not prejudice habeas petitioners.
                                       B
         If treated according to their substance rather than their
      label, Rule 59(e) motions would still have “an unquestiona-
      bly valid role to play” in habeas cases. Gonzalez, 545 U. S.,
      at 534. The construction of AEDPA in Gonzalez did not
      doom the Rule 60(b) motion at issue in that case. Although
      deficient for other reasons, that motion challenged “a non-
      merits aspect of the first federal habeas proceeding,” the de-
      nial of the habeas petition on timeliness grounds. Ibid.
      That sort of claim is not the equivalent of a habeas claim.
      It does not assert a federal basis for relief from the state-
      court judgment; rather, it seeks to cure a “defect” in the fed-
      eral habeas proceeding itself. Id., at 532.
         Rule 59(e) motions can do the same. Through that Rule,
      a petitioner can flag manifest errors in a district court’s ap-
      plication of AEDPA’s statute of limitations, AEDPA’s ex-
      haustion requirement, or the rules of procedural default.
      See Webb v. Davis, 940 F. 3d 892, 898 (CA5 2019) (adding
      “the district court’s denial of funding, the district court’s
      dismissal of claims without conducting an evidentiary hear-
      ing, . . . the district court’s failure to consider claims pre-
      sented in the habeas application,” and “the denial of a claim
      based on a valid appeal waiver” (internal quotation marks
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      omitted)). These challenges relate only to a petitioner’s
      ability to assert a claim, not the merits of the claim itself.
      Under Gonzalez, a petitioner could seek reconsideration of
      them unencumbered by §2244(b).
         That is not what Banister sought. In substance, his Rule
      59(e) motion was simply a repackaged version of his peti-
      tion, and since the Fifth Circuit had not authorized him to
      file it, the District Court had no jurisdiction to consider it.
      See Burton v. Stewart, 549 U. S. 147, 153 (2007) (per
      curiam).
                                    V
         The question remains whether Banister’s Rule 59(e) mo-
      tion tolled his appeal deadline. Under 28 U. S. C. §2107(a),
      the Fifth Circuit could hear his appeal only if he filed it
      within 30 days of the District Court’s judgment. See Hamer
      v. Neighborhood Housing Servs. of Chicago, 583 U. S. ___,
      ___ (2017) (slip op., at 1). During that time, Banister filed
      his Rule 59(e) motion, but he did not file his appeal until 66
      days after the court denied his habeas petition.
         Appellate Rule 4(a) provides that “the time to file an ap-
      peal runs for all parties from the entry of the order dispos-
      ing of,” among other things, a Rule 59(e) motion. Fed. Rule
      App. Proc. 4(a)(4)(A)(iv). Not on that list: successive habeas
      petitions. Since that is what Banister’s Rule 59(e) motion
      was in substance, it did not toll his appeal deadline.
         Banister contends that, even if his Rule 59(e) motion con-
      stituted a habeas petition, the simple act of filing it gave
      him more time to appeal. He points to the statement in
      Artuz v. Bennett, 531 U. S. 4 (2000), that an application is
      commonly regarded as having been “ ‘filed’ ” if “it is deliv-
      ered to, and accepted by, the appropriate court officer for
      placement into the official record.” Id., at 8. Under this
      definition, he argues, his motion was filed, and therefore,
      the time to take an appeal was tolled until it was denied.
         This argument fails because the timeliness of Banister’s
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      appeal does not depend on whether what Banister labeled
      a Rule 59(e) motion was “filed” in the District Court. Under
      Appellate Rule 4(a), the time to appeal runs from the date
      when the district court finally disposes of a motion falling
      within one of six categories, including motions to alter or
      amend the judgment under Rule 59. And whether a motion
      falls into one of those categories depends on the substance
      of the motion, not the label that is affixed to it. See, e.g.,
      Budinich v. Becton Dickinson & Co., 486 U. S. 196, 199–
      200, 203 (1988) (a motion for attorney’s fees is not equiva-
      lent to a Rule 59(e) motion and did not toll the time to ap-
      peal); State Nat. Ins. Co. v. County of Camden, 824 F. 3d
      399, 410 (CA3 2016); Yost v. Stout, 607 F. 3d 1239, 1243
      (CA10 2010); Borrero v. Chicago, 456 F. 3d 698, 700 (CA7
      2006); Moody Nat. Bank of Galveston v. GE Life and Annu-
      ity Assurance Co., 383 F. 3d 249, 251 (CA5 2004); Jones v.
      UNUM Life Ins. Co. of America, 223 F. 3d 130, 136 (CA2
      2000). Thus, to toll the time to appeal, Banister’s motion
      had to be a motion to alter or amend, and because §2244(b)
      dictates that his motion be treated as a habeas petition, it
      cannot be allowed to toll the time to appeal.
                               *     *    *
        I would hold that a Rule 59(e) motion that constitutes a
      second or successive habeas petition is subject to §2244(b)
      and that such a motion does not toll the time to appeal. I
      therefore conclude that the Fifth Circuit was correct to dis-
      miss Banister’s untimely appeal. Because the Court holds
      to the contrary, I respectfully dissent.
